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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
               v.                             )       CIVIL NO. 19-mc-91054
                                              )
RASAUN SCOTT,                                 )
          Defendant.                          )

 ASSENTED-TO MOTION FOR ENDS-OF-JUSTICE CONTINUANCE OF TIME FOR
   FILING AN INDICTMENT OR INFORMATION, AND EXCLUSION OF TIME,
                    UNDER THE SPEEDY TRIAL ACT

       COMES NOW, the United States of America, by and through undersigned counsel, and

respectfully moves this Court for an order granting a continuance of the time within which an

indictment or information must be filed, and excluding the time period from March 1, 2019 through

and including May 1, 2019, from the speedy trial clock, pursuant to the Speedy Trial Act, 18 U.S.C.

§§ 3161(h)(7)(A), and Sections 5(b)(7)(B) and 5(c)(1)(A)of the Plan for Prompt Disposition of

Criminal Cases for the United States District Court for the District of Massachusetts (effective

December 2008), on the ground that the ends of justice served by granting the requested

continuance and excluding this period, outweigh the best interests of the public and the Defendant

in a speedy trial. The government further asks this Court to issue the attached proposed Order of

Continuance and Excludable Delay. In support of this request, the government states as follows:

       1.      On January 30, 2019, the Defendant had his initial appearance in the District of

Massachusetts and was charged via criminal complaint styled United States v. Rashuan Scott, Case

No. 1:19-mj-02010-MBB. The Defendant was returned to state custody as he is currently serving

a state sentence.

       2.      The parties have engaged in preliminary discussions regarding a plea by

information. Even with due diligence, the parties will be unable to finalize those discussions prior
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to the time within which an indictment or information must be filed. Thus, the government

requests a 60-day extension of time within which an indictment or information must be filed in

this case.

        3.      If the requested time is excluded, the United States will have until May 1, 2019, to

return an indictment or file an information in this case. No previous extensions of time have been

requested.

        4.      Defendant’s counsel has assented to this motion.

        5.      A proposed order is attached.

                                                             Respectfully submitted,

                                                             ANDREW E. LELLING
                                                             United States Attorney

                                                      By:    Nicholas Soivilien
                                                             Nicholas Soivilien
                                                             Assistant United States Attorney
                                                             One Courthouse Way, Suite 9200
                                                             Boston, MA 02210
                                                             617-748-3100

Dated: February 13, 2019
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                )
UNITED STATES OF AMERICA,                       )
                                                )
               v.                               )     CIVIL NO. 19-mc-91054
                                                )
RASAUN SCOTT,                                   )
          Defendant.                            )

                ORDER OF CONTINUANCE AND EXCLUDABLE DELAY

       Upon consideration of the Assented-To Motion seeking an order of continuance and

excludable delay, the Court finds as follows:

       1.      The Defendant has been and charged by criminal complaint styled United States v.

Rashuan Scott, Case No. 1:19-mj-02010-MBB. The parties have engaged in discussions regarding

the case; however, even with due diligence, the parties expect to be unable to finalize their

discussions prior to the time within which an indictment or information must be filed. As a result,

the United States requests an extension of time to return an indictment or file an information. The

requested exclusion of time represents an extension of the United States’ time to file an indictment

or information under the Speedy Trial Act.

       2.      Accordingly, the ends of justice served by granting the requested continuance and

excluding the time period from March 1, 2019 through and including May 1, 2019, from the speedy

trial clock, outweigh the best interests of the public and the Defendant in a speedy trial pursuant

to the Speedy Trial Act, 18 U.S.C. §§3161(h)(7)(A), and Sections 5(b)(7)(B) and 5(c)(1)(A)of the

Plan for Prompt Disposition of Criminal Cases for the United States District Court for the District

of Massachusetts (effective December 2008).

       Accordingly, the Court hereby grants the Assented-To Motion and ORDERS that,

pursuant to the Speedy Trial Act, 18 U.S.C. §§3161(h)(7)(A), and Sections 5(b)(7)(B) and
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5(c)(1)(A)of the Plan for Prompt Disposition of Criminal Cases, (1) the date on which an

Indictment or Information must be filed is continued to May 1, 2019; and (2) the period from

March 1, 2019 through and including May 1, 2019, is excluded from the speedy trial clock and

from the time within which an indictment or information must be filed.



________________________________________
UNITED STATES DISTRICT JUDGE


Date:
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                                CERTIFICATE OF SERVICE

        I, Nicholas Soivilien, Assistant United States Attorney, hereby certify that this document
filed will be sent via electronic mail and first class mail to counsel of record.


                                                            Nicholas Soivilien
Dated: February 13, 2019                                    Nicholas Soivilien
                                                            Assistant United States Attorney
